
708 A.2d 681 (1998)
349 Md. 421
John Marvin BOOTH
v.
STATE of Maryland.
Misc. No. 41, Sept. Term, 1997.
Court of Appeals of Maryland.
April 7, 1998.
Nevett Steele, Jr., Towson, for appellant.
Gwynn X. Kinsey, Asst. Atty. Gen., for appellee.
Submitted to BELL, C.J., and ELDRIDGE, RODOWSKY, CHASANOW, RAKER, WILNER and CATHELL, JJ.

ORDER
The Court having considered the application of John Marvin Booth for leave to appeal the denial of a petition for post-conviction relief, the response in opposition thereto, the supplementary exhibits, the pro se supplemental answer to the State's response, and the pro se application for review and certification of questions, etc. in the above-captioned case, it is this 7th day of April, 1998,
ORDERED, by the Court of Appeals of Maryland, that the applications be, and they are hereby, denied.
